
PER CURIAM.
After reviewing the briefs and record on appeal, we find the appellant has failed to demonstrate reversible error; however, the provision in appellant’s sentence that he be imprisoned “at hard labor” is improper. Ussery v. State, 350 So.2d 839 (Fla. 1st D.C.A. 1977); McDonald v. State, 321 So.2d 453 (Fla. 4th D.C.A. 1975). Accordingly, this ease is REMANDED for the purpose of striking the language “at hard labor” from the sentencing order; it is otherwise affirmed. Appellant need not be present for this purpose.
SMITH, Acting C. J., and MELVIN and BOOTH, JJ., concur.
